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Hall, Roderick S. (1994) The perception of emotion in alexithymic chronic pain patients.

Unpublished doctoral dissertation, George Washington University, Washington, DC.



Hall, Roderick S. (2001) Coping with Disaster, San Diego Psychological Association

Newsletter, September 2001, page 1.



4. Compensation to be Paid for the Study and Testimony



I am working pro bono. However, if I am deposed, I would like to be paid $240 per hour, in

advance.



5. Listing of any other Cases in which the Witness has Testified as an Expert at Trial or by

Deposition within the Preceding Four Years



2004 –WWASPS v. Pure et al. Case No. 2:02CV 0010ST. I was deposed but did not testify.



                                            Respectfully submitted,




                                                      __//SIGNED//___________

                                                      RODERICK S. HALL, PhD.




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PRESENTATIONS



Hall, R. (April 1996) The Psychological Assessment of Risk for Violent Behavior. Presented to

the mental health staff of Alexandria Mental Health Center, Alexandria, Virginia.



Hall, R. (November 1996). The Clinical Assessment of Malingering. Presented to the mental

health staff of The Alexandria Detention Center, Alexandria, Virginia



Hall, Roderick S, Ph.D. (May 2001) The Disaster Mental Health Response to the Santana High

School Shootings. A presentation to the Disaster Mental Health Committee of the California

Psychological Association, Los Angeles, CA



Campbell, J., Hall, R., Lipson, G., Saddick, S., Wegman, T., & Yedid, J. (December 2002).

Separating Trauma from Drama , Presented by the San Diego Psychological Association

Forensic Committee, San Diego, CA



PUBLICATIONS



Hall, Roderick S. (1989) An information processing test of the construct alexithymia.

Unpublished masters research project, George Washington University, Washington, DC.




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Completed two- year course in psychoanalytic approaches to child psychotherapy.



San Diego Psychoanalytic Society and Institute , 5628 La Jolla Blvd. La Jolla, CA 92037



Candidate in Adult and Child Psychoanalytic Training September 2000 to present.



PROFESSIONAL ASSOCIATIONS



American Psychological Association

American Psychoanalytic Association

San Diego Psychoanalytic Society and Institute



LICENSES and other QUALIFICATIONS



Licensed Psychologist, California, PSY 15283, Exp. 10/2006.



HONORS



1988-89 District of Columbia Pre-Doctoral Research Award

Psi Chi

Phi Theta Kappa




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B.A. - May 1986                 Psychology                 University of Maryland

                                (GPA 3.96)                 College Park, Maryland



ADDITIONAL TRAINING



Institute for Law Psychiatry and Public Policy, University of Virginia Law School, University of

Virginia, Charlottesville, VA

Numerous seminars on forensic evaluations from October of 1995 to November 1996. Topics

covered included:



•   Evaluation of Mental Status at Time of the Offense

•   Competency to Stand Trial

•   Issues Related to Juvenile Competence

•   Risk Assessment and Prediction of Violence

•   Juvenile Transfer to Adult Court

•   Evaluation and Treatment of Sex Offenders

•   Capital Sentencing Evaluation



Baltimore-Washington Institute for Psychoanalysis, Extension Division, 14900 Sweitzer Lane,

Suite 102, Laurel, MD 20707. September 1994 to June 1996.




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CLINICAL PSYCHOLOGY EXTERN: Washington Pain and Rehabilitation Center, 2100 M

Street, N.W. Suite 311, Washington, D.C. 20037. April 1987 to April 1986.



One year training externship in psychological assessment, biofeedback, relaxation training,

group therapy and individual psychotherapy with adults who had chronic medical problems.



PSYCHOLOGICAL TESTING EXTERN: Forensic Psychiatry Bureau, District of Columbia

Commission on Mental Heath Services, 605 G Street, N.W., Washington, D.C. 20001. October

1986 to May 1987.



First year clinical psychology placement for psycholo gical evaluation of adults.



TEACHING ASSISTANT AND UNIVERSITY FELLOW: George Washington University,

Department of Psychology. September 1986 to May 1987.



EDUCATION



Ph.D. - January 1994          Clinical Psychology            George Washington University

                              (GPA 3.86)                     Washington, D.C.



M.Phil. - January 1990        Clinical Psychology            George Washington University,




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CLINICAL PSYCHOLOGY INTERN: District of Columbia Government, Commission On

Mental Health, Child and Youth Services, Northwest Family Center, 1536 U Street, N.W., 3rd

Floor, Washington, D.C. 20009, September 1990 to September 1991.



American Psychological Association accredited clinical psychology internship. I received

professional training in child and youth assessment and therapy. Minor rotations at Adolescent

Inpatient Unit, Saint Elizabeths Psychiatric Hospital and Youth Forensic Psychiatry Bureau.



CHILD PSYCHOTHERAPY EXTERN: The Rose School, 4820 Howard Street,

N.W., Washington, D.C. 20016 August 1988 to July 1990.



•   Two year externship in psychoanalytically oriented play therapy with emotionally disturbed

    children from ages 6 to 12 years.



    LECTURER IN PSYCHOLOGY: George Washington University, Psychology Department,

    2125 G Street, NW, Washington, D.C. 20052. June 1988 to May 1990.



•   Taught an undergraduate psychology course in General Psychology.

•   Taught Psychology of Adjustment.




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?   Performed individual psychotherapy, family therapy, and psychological evaluations with

children who were physically or sexually abused.

?   Co-led group psychotherapy for adult sexual offenders



CLINICAL PSYCHOLOGIST: District of Columbia Commission on Mental Health, Parent and

Infant Program, 51 N Street, NE, Washington, DC 20002. October 1994 to November 1994.



CLINICAL CHILD THERAPIST: Children's Services, Good Samaritan Mental Health.

325 E. Pioneer Ave., Puyallup, WA 98371. August 1992 to July 1994.



•     Performed outpatient psychotherapy with children, adolescents and families.

•     Collaborated with foster care, and Child Protective Services case workers.

•     Performed school based psychotherapy with special education students at local elementary

      school and high school.

•     Collaborated with teachers and administrators.



CHILD AND FAMILY THERAPIST: Valley Cities Mental Health, 2704 "I" Street NE, Auburn,

WA 98002. October 1991 to July 1992.



Performed individual play therapy, family therapy, and group therapy in school based day

treatment program for elementary level severely behaviorally disturbed students.




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Health Center , I worked with the most challenging and difficult clinical cases to present at the

mental health center. I also assisted trainees and junior staff in their diagnosis, case formulation,

and treatment planning at weekly staff meetings.



•   Supervised 1 Resident in Psychology and 3 Clinical Psychology Interns in American

    psychological Association Accredited Internship.

•   Co-Taught Psychological Testing Seminar.

•   Interviewed and participated in hiring selection of therapists and clinical psychology interns.

•   Provided seminars for staff on various topics including assessment of dangerousness,

    detection of malingering and diagnosis and treatment of bi-polar disorder.

•   Performed court ordered forensic evaluations at City of Alexandria's juvenile and adult

    detention centers and provided testimony in Juvenile Court, General District Court and

    Superior Court.

•   Member of City of Alexandria's Crisis Intervention Stress Debriefing Team.

•   Led groups for severely mentally ill outpatients.

•   Performed outpatient psychotherapy with adults who had a wide range of psychological

    problems.



PSYCHOLOGICAL ASSOCIATE: The Center for Children, P.O. Box 329, LaPlata, MD 20646.

November 1994 to August 1995




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(619) 437-0440. November 1997 to present.



•   Psychological evaluations and psychotherapy with children, adolescents, and adults.

•   Forensic Evaluations



CO-CHAIR PLANNING AND DEVELOPMENT. Disaster Mental Health Services, San

Diego/ Imperial County Chapter of the American Red Cross. 3650 Fifth Ave., San Diego, CA

92103. January 1999 to January 2002.



•   Volunteer position involved in the direction of planning and development of American Red

    Cross Disaster Mental Health Services for San Diego and Imperial Counties.



PRIVATE PRACTICE: 1363 Beverley Rd. Suite 304, McLean, VA 22101, June 1996 to April

1997.



•   Part-time private practice specializing in assessment and treatment of children, adolescents,

    and families



CLINICAL PSYCHOLOGIST: City of Alexandria VA, Alexandria Mental Health Center, 720

N. St. Asaph St., Alexandria, VA 23314, August 1995 to April 1997.



As one of the more highly trained members of the Adult Outpatient Staff at Alexandria Mental



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affiliated with Teen Help and Wide World Association of Specialty Programs and Schools

(WWASPS).

       Many of them tell me that they have nightmares about the program years after they left.

Some appear to have symptoms of a Post Traumatic Stress Disorder. In addition, I reviewed a

number of depositions and/or statements of teenagers who were formerly in a Teen Help

/WWASPS program as part of my involvement in WWASPS v. Pure et al. Case No. 2:02CV

0010ST last year.

       These statements and reports represent case studies of what occurred in these programs.

       My experience in the evaluation of the psychological effects of abuse is based upon my

clinical training and clinical experience. I have either evaluated or treated between 300 and 400

children who were victims of abuse or adults who were victims of abuse whe n they were

children.



3. Qualifications of the Witness, including a List of All Publications Authored by the Witness

within the Preceding Ten Years



PROFESSIONAL EXPERIENCE

AREAS OF COMPETENCE: Child, adolescent, and adult psychotherapy. Diagnostic, forensic,

and psychological evaluations. Training and supervision. Broadly experienced in working with

patients who have a wide range of psychological problems.



PRIVATE PRACTICE: 1224 Tenth Street, Suite 208, Coronado, CA 92118.



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        I believe that the lack of open communication between teens enrolled at WWASPS

facilities produces feelings of abandonment, putting unnecessary strain on the relationship

between the teen and his family.

        The ethics of the psychological profession demand that, if it becomes clear that a

psychologist cannot help a patient, he must refer him to one who can. It is clear to me that

WWASPS facilities keep teens long after it has become clear that they are not equipped to

effectively treat them. This results in a significant loss of time for the parents to resolve their

teens problems, and waste of parents’ money.

        I believe that in encouraging parents to essentially disown their children if they do not

“work the program” constitutes destructive interference in the family dynamic. It exacerbates

normal fears of abandonment.

        I regard aftercare as a vital part of treatment. WWASPS appears to have no aftercare

program to speak of.

        In my opinion, Teen Help, WWASPS, and its member facilities appear to present

themselves to parents as residential treatment centers, but they do not provide treatment. In short,

I believe that WWASPS facilities are little more than private detention centers.

        I have noted a serious feelings of guilt in parents who have sent their children to the

WWASPS program.



II. Data or other Information Considered by the Witness in Forming his Opinions

        My opinion is based on information available to me through my many contacts with

teenagers, young adults, parents and family members who have been involved in programs



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          There appears to be no genuine attempt by the WWASPS program to evaluate the

appropriateness of a child’s placement in one of its lock-down facilities.

          I believe that teens sent to WWASPS facilities do not receive thorough evaluations by

licensed, qualified professionals before they are placed in a locked-down specialty school.

          I believe that without a thorough evaluation by a licensed, qualified professional, it is

impossible to properly diagnose a teen’s problems, and therefore, impossible to properly treat

them.

          I believe that the lack of a thorough evaluation results in symptoms being missed or

misinterpreted by the staff at WWASPS facilities.

          I believe that the lack of a thorough evaluation results in numerous teens being subjected

to a more restrictive environment than the treatment of their problem demands.

          It is commonly understood in the profession of adolescent psychology that treatment of

teens should take place in the least restrictive environment.

          I believe that in some cases, serious psychological problems are left untreated because the

teen was sent to a WWASPS facility rather than a licensed professional.

          I believe that because many former WWASPS teens feel that the y have been abused in

the name of treatment, they will avoid seeking professional help as adults.

          It is commonly understood that treatment of teen behavior problems should involve the

shortest possible separation of the teen from his home environment.

          I believe that the length of separation called for by the WWASPS program produces

feelings of abandonment, putting unnecessary strain on the relationship between the teen and his

family.



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       I believe that WWASPS facilities employ violent physical restraints against teens and

that this results in lasting psychological harm.

       I believe that the WWASPS program tends to leave former detainees with feelings of

distrust and anger against authority figures.

       I believe that the WWASPS program tends to engender negative feelings (resentment,

distrust and/or fear) in teens toward their parents.

       I believe that the WWASPS program tends to leave teens with lasting feelings of

helplessness. The core of a traumatic experience is the experience of helplessness. It is my

opinion that the isolation, humiliation, demoralization and detention of children in

WWASPS/Teen Help facilities induces helplessness which is in itself traumatic. This

helplessness could aggravate or induce Post Traumatic Stress Disorder in a child who may

already have psychological problems.

       I believe that the level of psychological supervision at WWASPS facilities is inadequate.

       I believe that WWASPS employs a “one size fits all” treatment model on teens who have

a wide array of problems.

       I believe that at least one WWASPS facility, Casa by the Sea, misrepresented the

credentials of staff members (listing people with master’s degrees as “Dr.”).

       I believe that the staff at WWASPS facilities range from under-qualified to wholly

unqualified to deal with teens who are psychologically vulnerable.

       I believe that, because they are conducted by under- or unqualified staff members, group

“feedback sessions” tend to deteriorate into intense group bullying sessions. As a result, they

involve a significant risk of psychological harm.



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from the program with scars; children having their arms pulled behind their backs until they

scream; children having their ankles held flat against concrete while a staff member used his

weight and his knees to grind the child’s ankles into the concrete; children being threatened with

a cattle prod; children being restrained to the point where a child had a broken thumb, broken

elbow, or dislocated joint; children being forced to alternate every half hour between standing,

lying face down or kneeling on an unfinished concrete floor for days; and children being isolated

in unheated rooms in freezing climates with meager food.

        I believe that the WWASPS program does significantly more harm than good

        I believe that it teaches many children to be more angry and aggressive.

        I believe that teens who have graduated the WWASPS program have been harmed as

much as those who have not.

        I believe that sales people working on behalf of the WWASPS program and staff at

certain facilities are too casual about recommending that parents arrange for the forcible

abduction of teens from their homes by “escorts.” This is a practice that is traumatic, and

involves a significant risk of lasting psychological harm to the teen. It also tends to instill

feelings of fear and distrust toward the parent.

        I believe that sales people working on behalf of the WWASPS program and staff at

certain facilities are too casual about recommending that parents lure their children into

WWASPS facilities with ruses (like, “We’re going on a family vacation.”). This is a practice that

is traumatic, and involves a significant risk of lasting psychological harm to the teen. It also

tends to instill feelings of distrust toward the parent.




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               IN THE UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF COLUMBIA


THOMAS G. HOULAHAN,

            Plaintiff,

               v.                                       Civil Action No. 04-1161-HHK

WORLD WIDE ASSOCIATION OF                              Report of Plaintiff’s Expert Witness
SPECIALTY PROGRAMS AND                                        Dr. Roderick S. Hall
SCHOOLS, et al.,

            Defendants.



                                             REPORT

I. Statement of All Opinions to be Expressed and the Basis and Reasons Therefor


       I believe that the techniques employed by WWASPS facilities are largely ineffective in

terms of solving the problems of teens sent to them and are often harmful. The harm can run

from symptoms of Post Traumatic Stress Disorder like nightmares to actual Post Traumatic

Stress Disorder.

       There have been at least two suicides of children who were placed in WWASPS

facilities, (One at Tranquility Bay in Jamaica and one at Spring Creek Lodge in Montana). I

believe that the denial of treatment in an actual licensed treatment facility and the abusive

practices they were subjected to were both contributing factors in their deaths.

       I believe that children have been physically and psychologically abused at WWASPS

facilities. The accounts I have reviewed, include but are not limited to: children coming home
